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      County of Los Angeles, Jim McDonnell, Ungrey Holifield, Tawnia Rojas,
  8   Ernesto Valencia, Andrew Hagewood, Matthew Vander Horck, and Allen
      Castellano
  9
 10
                          UNITED STATES DISTRICT COURT
 11
                         CENTRAL DISTRICT OF CALIFORNIA
 12
 13
      MAURICE LALLEMAND,                    )    Case No. 2:17-cv-00781-JAK-SS
 14                                         )
                   Plaintiff,               )    Honorable John A. Kronstadt
 15                                         )
            vs.                             )
 16                                         )    DEFENDANTS’ COUNTY OF
      COUNTY OF LOS ANGELES, JIM            )    LOS ANGELES, JIM
 17   McDONNELL, UNGREY                     )    McDONNELL, UNGREY
      HOLIFIELD, TAWNIA ROJAS,              )    HOLIFIELD, TAWNIA ROJAS,
 18   ERNESTO VALENCIA, ANDREW              )    ERNESTO VALENCIA, ANDREW
      HAGEWOOD, MATTHEW                     )    HAGEWOOD, MATTHEW
 19   VANDERHORCK, ALLEN                    )    VANDER HORCK, AND ALLEN
      CASTELLANO AND DOES 1                 )    CASTELLANO’S ANSWER TO
 20   THROUGH 10,                           )    PLAINTIFF’S COMPLAINT;
                                            )    DEMAND FOR JURY TRIAL
 21                Defendants.              )
                                            )
 22
 23
            TO THE HONORABLE COURT, ALL PARTIES, AND TO THEIR
 24
      ATTORNEYS OF RECORD:
 25
            COMES NOW Defendants County of Los Angeles, Jim McDonnell,
 26
      Ungrey Holifield, Tawnia Rojas, Ernesto Valencia, Andrew Hagewood, Matthew
 27
      Vander Horck, and Allen Castellano (collectively, “Defendants”), and answering
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  1   the Complaint herein for themselves and for no other Defendants, admit, deny
  2   and allege as follows:
  3         1.     Answering Paragraph 1 of the Complaint, Defendants admit that
  4   jurisdiction is proper. As to the remainder of the allegations set forth in this
  5   paragraph, Defendants deny generally and specifically each allegation contained
  6   therein.
  7         2.     Answering Paragraphs 2, 4, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23,
  8   24, 25, 26, 27, 28, 29, 30, 31, 32, 33, 34, 35, 36, 40, 41, 45, 49, 50, 54, 62, 69, 76,
  9   77, 78, 82, 83, 88, 89, 90, 100, and 101 of the Complaint, Defendants lack
 10   sufficient information or belief to answer said Paragraphs and, on that ground,
 11   deny the allegations contained therein.
 12         3.     Answering Paragraph 3 of the Complaint, Defendants admit that
 13   venue is proper. As to the remainder of the allegations set forth in this paragraph,
 14   Defendants deny generally and specifically each allegation contained therein.
 15         4.     Answering Paragraph 5 of the Complaint, Defendants admit that Jim
 16   McDonnell was Sheriff of the Los Angeles County Sheriff’s Department. As to
 17   the remainder of the allegations set forth in this paragraph, Defendants deny
 18   generally and specifically each allegation set forth therein.
 19         5.     Answering Paragraph 6 of the Complaint, Defendants admit that
 20   Defendant Allen Castellano was a Captain with the Los Angeles County Sheriff’s
 21   Department. As to the remainder of the allegations set forth in this paragraph,
 22   Defendants deny generally and specifically each allegation set forth therein.
 23         6.     Answering Paragraph 7 of the Complaint, Defendants admit that
 24   Defendant Matthew Vander Horck is a Lieutenant with the Los Angeles County
 25   Sheriff’s Department. As to the remainder of the allegations set forth in this
 26   paragraph, Defendants deny generally and specifically each allegation set forth
 27   therein.
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  1         7.     Answering Paragraph 8 of the Complaint, Defendants admit that
  2   Defendant Tawnia Rojas is a deputy with the Los Angeles County Sheriff’s
  3   Department. As to the remainder of the allegations set forth in this paragraph,
  4   Defendants deny generally and specifically each allegation set forth therein.
  5         8.     Answering Paragraph 9 of the Complaint, Defendants admit that
  6   Defendant Ungrey Holifield is a deputy with the Los Angeles County Sheriff’s
  7   Department. As to the remainder of the allegations set forth in this paragraph,
  8   Defendants deny generally and specifically each allegation set forth therein.
  9         9.     Answering Paragraph 10 of the Complaint, Defendants admit that
 10   Defendant Ernesto Valencia is a deputy with the Los Angeles County Sheriff’s
 11   Department. As to the remainder of the allegations set forth in this paragraph,
 12   Defendants deny generally and specifically each allegation set forth therein.
 13         10.    Answering Paragraph 11 of the Complaint, Defendants admit that
 14   Defendant Andrew Hagewood is a deputy with the Los Angeles County Sheriff’s
 15   Department. As to the remainder of the allegations set forth in this paragraph,
 16   Defendants deny generally and specifically each allegation set forth therein.
 17         11.    Answering Paragraph 12 of the Complaint, Defendants admit that the
 18   County of Los Angeles is duly organized under the laws of the State of
 19   California. Defendants further admit that the County of Los Angeles is the
 20   employer of the individually named Defendants. As to the remainder of the
 21   allegations set forth in this paragraph, Defendants deny generally and specifically
 22   each allegation set forth therein.
 23         12.    Answering Paragraphs 37, 38, 42, 43, 46, 47, 51, 52, 55, 56, 57, 58,
 24   59, 60, 63, 64, 65, 66, 67, 70, 71, 72, 73, 74, 79, 80, 84, 85, 86, 91, 92, 93, 95, 96,
 25   97, 98, 102, 103, 104, 105, 106, 107, 108, and 109 of the Complaint, Defendants
 26   deny generally and specifically each allegation set forth therein.
 27         13.    Answering Paragraph 39 of the Complaint, Defendants incorporate
 28   by reference their responses to Paragraphs 1-38. As to the remaining allegations

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  1   set forth in these paragraphs, Defendants deny generally and specifically each and
  2   every allegation set forth therein.
  3         14.    Answering Paragraph 44 of the Complaint, Defendants incorporate
  4   by reference their responses to Paragraphs 1-43. As to the remaining allegations
  5   set forth in these paragraphs, Defendants deny generally and specifically each and
  6   every allegation set forth therein.
  7         15.    Answering Paragraph 48 of the Complaint, Defendants incorporate
  8   by reference their responses to Paragraphs 1-47. As to the remaining allegations
  9   set forth in these paragraphs, Defendants deny generally and specifically each and
 10   every allegation set forth therein.
 11         16.    Answering Paragraph 53 of the Complaint, Defendants incorporate
 12   by reference their responses to Paragraphs 1-52. As to the remaining allegations
 13   set forth in these paragraphs, Defendants deny generally and specifically each and
 14   every allegation set forth therein.
 15         17.    Answering Paragraph 61 of the Complaint, Defendants incorporate
 16   by reference their responses to Paragraphs 1-60. As to the remaining allegations
 17   set forth in these paragraphs, Defendants deny generally and specifically each and
 18   every allegation set forth therein.
 19         18.    Answering Paragraph 68 of the Complaint, Defendants incorporate
 20   by reference their responses to Paragraphs 1-67. As to the remaining allegations
 21   set forth in these paragraphs, Defendants deny generally and specifically each and
 22   every allegation set forth therein.
 23         19.    Answering Paragraph 75 of the Complaint, Defendants incorporate
 24   by reference their responses to Paragraphs 1-74. As to the remaining allegations
 25   set forth in these paragraphs, Defendants deny generally and specifically each and
 26   every allegation set forth therein.
 27         20.    Answering Paragraph 81 of the Complaint, Defendants incorporate
 28   by reference their responses to Paragraphs 1-80. As to the remaining allegations

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  1   set forth in these paragraphs, Defendants deny generally and specifically each and
  2   every allegation set forth therein.
  3         21.    Answering Paragraph 87 of the Complaint, Defendants incorporate
  4   by reference their responses to Paragraphs 1-86. As to the remaining allegations
  5   set forth in these paragraphs, Defendants deny generally and specifically each and
  6   every allegation set forth therein.
  7         22.    Answering Paragraph 94 of the Complaint, Defendants incorporate
  8   by reference their responses to Paragraphs 1-93. As to the remaining allegations
  9   set forth in these paragraphs, Defendants deny generally and specifically each and
 10   every allegation set forth therein.
 11         23.    Answering Paragraph 99 of the Complaint, Defendants incorporate
 12   by reference their responses to Paragraphs 1-98. As to the remaining allegations
 13   set forth in these paragraphs, Defendants deny generally and specifically each and
 14   every allegation set forth therein.
 15
 16                             AFFIRMATIVE DEFENSES
 17
 18                          FIRST AFFIRMATIVE DEFENSE
 19         24.    The Complaint fails to state a cause of action against Defendants.
 20                         SECOND AFFIRMATIVE DEFENSE
 21         25     The individual Defendants are entitled to qualified immunity since
 22   there was no constitutional violation, the applicable law was not clearly
 23   established and since a reasonable official could have believed that the alleged
 24   conduct was lawful.
 25                         THIRD AFFIRMATIVE DEFENSE
 26         26.    That pursuant to California Government Code §818, and Newport
 27   City v. Fact Concerts, Inc., 453 U.S. 247, 101 S.Ct. 2748 (1981), this public
 28


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  1   entity defendant is not liable for exemplary or punitive damages in any sum, or at
  2   all.
  3                        FOURTH AFFIRMATIVE DEFENSE
  4          27.   That Plaintiff’s Complaint fails to state a cause of action against this
  5   public entity Defendant for, pursuant to Monell v. Department of Social Services
  6   of the City of New York, 56 L.Ed.2d 611 (1978), there can be no recovery for a
  7   federal civil rights violation where there is no constitutional deprivation occurring
  8   pursuant to governmental policy or custom.
  9                         FIFTH AFFIRMATIVE DEFENSE
 10          28.   That Plaintiff’s Complaint does not state facts sufficient to constitute
 11   a cause of action against this defendant or any defendant herein, because simple
 12   negligence pursuant to the United States Supreme Court decision of Parratt v.
 13   Taylor, 451 U.S. 527 (1981), is not a federal civil rights violation.
 14                         SIXTH AFFIRMATIVE DEFENSE
 15          29.   A conspiracy cannot be generally alleged in an action brought under
 16   the Federal Civil Rights Act.
 17                       SEVENTH AFFIRMATIVE DEFENSE
 18          30.   Under the Civil Rights Act, where intent is an element of the claim,
 19   the facts must be alleged in the Complaint with specificity.
 20                        EIGHTH AFFIRMATIVE DEFENSE
 21          31.   The County Sheriff and his subordinates act on behalf of the State,
 22   not the County, when engaged in law enforcement activities, consequently, any
 23   policies, practices or customs alleged in the Complaint are not those of the
 24   County.
 25                         NINTH AFFIRMATIVE DEFENSE
 26          32.   The County is immune from liability under the Eleventh Amendment
 27   to the Constitution of the United States.
 28   ///

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  1                         TENTH AFFIRMATIVE DEFENSE
  2         33.    Neither a public entity nor a public employee is liable for his act or
  3   omission, exercising due care, in the execution or enforcement of any law.
  4                       ELEVENTH AFFIRMATIVE DEFENSE
  5         34.    Neither a public employee nor a public entity is liable for any injury
  6   caused by the act or omission of another person.
  7                       TWELFTH AFFIRMATIVE DEFENSE
  8         35.    Neither a public entity nor a public employee acting within the scope
  9   of his employment is liable for any injury caused by a public employee’s
 10   misrepresentation, whether the misrepresentation be negligent or intentional.
 11                      THIRTEENTH AFFIRMATIVE DEFENSE
 12         36.    Neither a public entity nor a public employee is liable for any injury
 13   resulting from his act or omission where the act or omission was the result of the
 14   exercise of the discretion vested in him.
 15                      FOURTEENTH AFFIRMATIVE DEFENSE
 16         37.    Neither a public entity nor a public employee is liable for his act or
 17   omission, exercising due care, in the execution or enforcement of any law.
 18                       FIFTEENTH AFFIRMATIVE DEFENSE
 19         38.    Any injury to Plaintiff was due to and caused by the negligence and
 20   omissions of the plaintiff to care for himself, which carelessness and negligence
 21   and omissions were the proximate cause of the damage, if any, to Plaintiff.
 22                       SIXTEENTH AFFIRMATIVE DEFENSE
 23         39.    That the damages, if any, should be in direct proportion to the fault
 24   of Defendants, if any, as provided by Civil Code §§1431 to 1431.5.
 25                      SEVENTEENTH AFFIRMATIVE DEFENSE
 26         40.    To the extent that Plaintiff suffered any detriment, such detriment
 27   was caused or contributed to by plaintiff’s negligence and damage, if any, should
 28   be reduced in direct proportion to his fault.

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  1                       EIGHTEENTH AFFIRMATIVE DEFENSE
  2         41.     The negligence of a third-party or parties was a superseding,
  3   intervening cause of the plaintiff’s injuries.
  4                       NINETEENTH AFFIRMATIVE DEFENSE
  5         42.     Plaintiff failed to mitigate his damages.
  6                       TWENTIETH AFFIRMATIVE DEFENSE
  7         43.     That any injury or damage suffered by Plaintiff was caused solely by
  8   reason of Plaintiff’s wrongful acts and conduct and the willful resistance to a
  9   peace officer in the discharge, and attempt to discharge, the duty of his office, and
 10   not by reason of any unlawful acts or omissions of these Defendants.
 11                      TWENTY-FIRST AFFIRMATIVE DEFENSE
 12         44.     That the force, if any, used on Plaintiff was reasonable under the
 13   circumstances and that any injury or damages allegedly suffered by Plaintiff were
 14   due to and caused by reason of Plaintiff’s acts and conduct in the unlawful assault
 15   and battery committed by Plaintiff.
 16                  TWENTY-SECOND AFFIRMATIVE DEFENSE
 17         45.     Plaintiff knew or should have known that he was being detained by a
 18   peace officer and had the duty to refrain from using force to resist such detention.
 19                      TWENTY-THIRD AFFIRMATIVE DEFENSE
 20         46.     To the extent that any force was used in the detention, it was
 21   privileged as necessary to affect the detention, to prevent escape, or to overcome
 22   resistance.
 23                  TWENTY-FOURTH AFFIRMATIVE DEFENSE
 24         47.     Probable cause existed for the detention of Plaintiff.
 25                      TWENTY-FIFTH AFFIRMATIVE DEFENSE
 26         48.     The actions of this Defendant and its employees in all respects were
 27   reasonable, proper and legal.
 28   ///

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  1                      TWENTY-SIXTH AFFIRMATIVE DEFENSE
  2          49.     Plaintiff was lawfully detained rather than arrested.
  3                   TWENTY-SEVENTH AFFIRMATIVE DEFENSE
  4          50.     Each of Plaintiff’s state law claims is barred by the absolute “official
  5   duty” privilege of Civil Code § 47(a).
  6                    TWENTY-EIGHTH AFFIRMATIVE DEFENSE
  7          51.     Each of Plaintiff’s state law claims is barred as having some
  8   connection with or logical relation to an “official proceeding” within the absolute
  9   privilege of Civil Code § 47(b).
 10                      TWENTY-NINTH AFFIRMATIVE DEFENSE
 11          52.     Each of Plaintiff’s state law claims is barred by the immunity for
 12   discretionary acts under California Government Code § 820.2.
 13                        THIRTIETH AFFIRMATIVE DEFENSE
 14          53.     Plaintiff fails to allege a statutory basis for his state law claims.
 15                      THIRTY-FIRST AFFIRMATIVE DEFENSE
 16          54.     Plaintiff failed to comply with the California Government Claims
 17   Act.
 18                    THIRTY-SECOND AFFIRMATIVE DEFENSE
 19          55.     All answering Defendants are immune pursuant to California Penal
 20   Code §§ 834a and 847.
 21                      THIRTY-THIRD AFFIRMATIVE DEFENSE
 22          56.     All answering Defendants are immune pursuant to California Civil
 23   Code § 43.55.
 24                    THIRTY-FOURTH AFFIRMATIVE DEFENSE
 25          57.     Plaintiff’s California Civil Code § 52.1 claim fails because the
 26   alleged detention does not satisfy the elements required for relief under Civil
 27   Code § 52.1.
 28   ///

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   1                      THIRTY-FIFTH AFFIRMATIVE DEFENSE
   2         58.    Plaintiff’s California Penal Code § 148 claim fails as this statute
   3   does not support a private right of action, and this “tort in essence” is superfluous
   4   and redundant of Plaintiff’s other claims.
   5                      THIRTY-SIXTH AFFIRMATIVE DEFENSE
   6         59.    Plaintiff’s claims against the individual Defendants in their official
   7   capacity are duplicative of the claims against the County.
   8                  THIRTY-SEVENTH AFFIRMATIVE DEFENSE
   9         60.    These answering Defendants did not violate Plaintiff’s First
  10   Amendment Rights.
  11                      THIRTY-EIGHTH AFFIRMATIVE DEFENSE
  12         61.    These answering Defendants did not violate Plaintiff’s Fourteenth
  13   Amendment Rights.
  14                      THIRTY-NINTH AFFIRMATIVE DEFENSE
  15         62.    These answering Defendants did not violate Plaintiff’s Fourth
  16   Amendment Rights.
  17                        FORTIETH AFFIRMATIVE DEFENSE
  18         63.    Plaintiff’s Complaint fails to state a cause of action against
  19   Defendants for punitive damages in that punitive damages violate Defendants’
  20   due process of law rights.
  21                       FORTY-FIRST AFFIRMATIVE DEFENSE
  22         64.    This action is barred by operation of the applicable statute of
  23   limitations including, without limitation, Sections 335.1, 338, 339, 340, and 342
  24   of the California Code of Civil Procedure.
  25                      FORTY-SECOND AFFIRMATIVE DEFENSE
  26         65.    This action is barred, in whole or in part, by the doctrine of waiver.
  27   ///
  28   ///

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   1                      FORTY-THIRD AFFIRMATIVE DEFENSE
   2         66.    Plaintiff’s claims and requests for relief are barred, in whole or in
   3   part, by the doctrine of unclean hands.
   4                      FORTY-FOURTH AFFIRMATIVE DEFENSE
   5         67.    Plaintiff has failed to exhaust all of his administrative remedies.
   6                      FORTY-FIFTH AFFIRMATIVE DEFENSE
   7         68.    Plaintiff’s claims and requests for relief are barred, in whole or in
   8   part, by the doctrine of estoppel.
   9                      FORTY-SIXTH AFFIRMATIVE DEFENSE
  10         69.    Plaintiff’s claims and requests for relief are barred, in whole or in
  11   part, by the doctrine of consent.
  12                   FORTY-SEVENTH AFFIRMATIVE DEFENSE
  13         70.    Because Plaintiff’s Complaint is couched in conclusory terms,
  14   Defendants cannot fully anticipate all the affirmative defenses that may be
  15   applicable to the within action. Accordingly, the right to assert additional
  16   affirmative defenses, if and to the extent that such affirmative defenses are
  17   applicable, is hereby reserved.
  18                      FORTY-EIGHTH AFFIRMATIVE DEFENSE
  19         71.    Worker’s Compensation is Plaintiff’s exclusive remedy, thereby
  20   barring his claims in their entirety.
  21                      FORTY-NINTH AFFIRMATIVE DEFENSE
  22         72.    Each of Plaintiff’s state law claims against this public entity
  23   Defendant is barred by California Government Code § 815.2(b).
  24                        FIFTIETH AFFIRMATIVE DEFENSE
  25         73.    Pursuant to Monell v. Department of Social Services of the City of
  26   New York, 436 U.S. 658, 98 S.Ct. 2018 (1978), there can be no recovery for a
  27   federal civil rights violation where there is no constitutional deprivation occurring
  28   pursuant to governmental policy or custom.

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   2         WHEREFORE, Defendants County of Los Angeles, Jim McDonnell,
   3   Ungrey Holifield, Tawnia Rojas, Ernesto Valencia, Andrew Hagewood, Matthew
   4   Vander Horck, and Allen Castellano pray that Plaintiff take nothing by way of his
   5   Complaint and that Defendants herein recover their costs, attorneys’ fees, and
   6   such other and further relief as the Court may deem just and proper.
   7
   8   Dated: May 10, 2017                   LAWRENCE BEACH ALLEN & CHOI, PC
   9
  10                                         By            /s/ Jin S. Choi            _
  11                                                Jin S. Choi
                                                    Attorneys for Defendants
  12
                                                    County of Los Angeles, Jim
  13                                                McDonnell, Ungrey Holifield, Tawnia
  14
                                                    Rojas, Ernesto Valencia, Andrew
                                                    Hagewood, Matthew Vander Horck,
  15                                                and Allen Castellano
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   1                           DEMAND FOR JURY TRIAL
   2   TO THE CLERK OF THE ABOVE-ENTITLED COURT
   3         PLEASE TAKE NOTICE that Defendants County of Los Angeles, Jim
   4   McDonnell, Ungrey Holifield, Tawnia Rojas, Ernesto Valencia, Andrew
   5   Hagewood, Matthew Vander Horck, and Allen Castellano demand a trial by jury
   6   pursuant to Federal Rules of Civil Procedure, Rule 38(b) and Local Rule 38-1.
   7
   8
   9   Dated: May 10, 2017                  LAWRENCE BEACH ALLEN & CHOI, PC
  10
  11                                        By            /s/ Jin S. Choi            _
                                                   Jin S. Choi
  12
                                                   Attorneys for Defendants
  13                                               County of Los Angeles, Jim
  14
                                                   McDonnell, Ungrey Holifield, Tawnia
                                                   Rojas, Ernesto Valencia, Andrew
  15                                               Hagewood, Matthew Vanderhorck,
  16                                               and Allen Castellano
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